     Case 1:03-md-01570-GBD-SN Document 272-2 Filed 06/30/04 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK


IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001               MDL No. 1570
                                                            ECF case

This document relates to:

THOMAS BURNETT, SR., et al.
                              Plaintiffs                    Civil Action No. 03 CV 9849
            - against –                                     (RCC)
AL BARAKA INVESTMENT & DEVELOPMENT CORP., et al.,
                        Defendants.


AFFIRMATION OF ANDREA BIERSTEIN IN OPPOSITION TO MOTION TO DISMISS OF
                         HAMAD AL-HUSAINI

       Andrea Bierstein, Esq., affirms as follows:

       I an attorney admitted to practice in New York and in this Court and am a member of the

law firm Hanly Conroy Bierstein & Sheridan LLP, co-counsel for the Burnett plaintiffs. I submit

this affirmation to transmit to the Court the following documents submitted in opposition to the

motion to dismiss filed by defendant Hamad Al-Husaini:

       1.      Exhibit 1 is a true and accurate copy of a document entitled “Government’s

Evidentiary Proffer Supporting the Admissibility of Co-conspirator Statements” submitted by the

United States in U.S. v. Arnaout, 02 CR 892 (N.D. Ill.).

       2.      Exhibit 2 is a true and accurate copy of a three-page document (bearing numbers

B0S000001, B0S000002, and B0S000003) seized by the Bosnian police during searches of the

offices of defendant Benevolence International Foundation in Sarajevo, Bosnia and Herzegovina

in March 2002 and presented as evidence by the United States government in a criminal

prosecution involving a1 Qaeda. The document, and the names contained in it, are referred to as

the "Golden Chain." The Golden Chain document was presented by the United States

                                                1
     Case 1:03-md-01570-GBD-SN Document 272-2 Filed 06/30/04 Page 2 of 4




government as an exhibit in the Department of Justice's Government's Evidentiary Proffer

Supporting the Admissibility of Co-conspirator Statements in U.S. v. Arnaout, Case No. 02CR-

892 (N.D. Ill. January 29, 2003). The government exhibit contained both the original Arabic

document and its English translation, both of which are included in Exhibit 1.

       3.      Exhibit 3 is a “Company Status Report” published on the Internet (at

www.icpcredit.com) by International Company Profile, a U.K.-based company that (as described

on its website) “provide[s] online company credit reports, credit appraisals, company ownership

and management reports, legal status and history details and other financial and business

information for all emerging and major markets.”

       4.      Exhibit 4 is a report on Akel Trading Co Ltd. from the “Major Companies

Database” published by Graham & Whiteside, Ltd.

       5.      Exhibit 5 is a report on Akel Agricultural Investment Co. prepared by Dun &

Bradstreet, Inc. for its “Worldbase.”

       6.      Exhibit 6 is a true and accurate copy of an article entitled “Radical Foundation: In

‘Law’ Seminars, A Saudi Group Spreads Extremism,” that appeared in The Wall Street Journal

on April 15, 2003.

       7.      Exhibit 7 is a true and accurate copy of an article entitled “www.terror.net: How

Modern Terrorism Uses the Internet,” published by the U.S. Institute for Peace in March, 2004.

       8.      Exhibit 8 are excerpts from the transcript of a trial conducted in the United States

District Court for the Southern District of New York on June 27- July 6, 2001 in United States v.

Mokhtar Haouari, 00 CR 15. June 27-July 6, 2001.

       9.      Exhibit 9 is a true and accurate copy of an article entitled “Saudi Exile Warns

More Attacks Are Planned,” that appeared in the New York Times on July 11, 1996.




                                                2
     Case 1:03-md-01570-GBD-SN Document 272-2 Filed 06/30/04 Page 3 of 4




       10.     Exhibit 10 is a true and accurate copy of a fatwa entitled “Declaration of War

Against the Americans Occupying the Land of the Two Holy Places,” issued by Osama bin

Laden in 1996.

       11.     Exhibit 11 is a transcript of an interview of Osama bin Laden that aired on CNN

in March, 1997.

       12.     Exhibit 12 true and accurate copy of a fatwa issued by Osama bin Laden in 1998.

       13.     Exhibit 13 is a transcript of an interview with Osama bin Laden that aired on

ABC News on May 28, 1998.

       14.     Exhibit 14 is a true and accurate copy of an Internet news item reporting on a

fatwa issued by Sheikh Omar Abdel Rahman in 1998.

       15.     Exhibit 15 is a true and accurate copy of an article dated July 21, 2001, entitled

“Video Shows Bin Laden Urging Muslims to Prepare for Fighting,” downloaded from CNN’s

website, www.cnn.com on June 24, 2004.

       16.     Exhibit 16 is a true and accurate copy of a an Affidavit of Evan Kohlmann and a

Report prepared by Evan Kohlmann, entitled “Al-Qaida Openly Targeted the United States,”

dated May 10, 2004.

       17.     Exhibit 17 is a true and accurate copy of a document entitled “Government’s

Response to Defendant’s Position Paper as to Sentencing Factors,” submitted in U.S. v. Arnaout,

Case No. 02 CR 892 (N.D. Ill.).

       18.     Exhibit 18 is a true and accurate copy of a message that appeared on the Internet

addressed to “Sheikh Osama Bin Laden” from “Sheikh Omar Bakri Muhammad” bearing the

date July 16, 1999.




                                                3
Case 1:03-md-01570-GBD-SN Document 272-2 Filed 06/30/04 Page 4 of 4
